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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                              CASE NOS. CR F 06-0313 LJO
                                                                      CV F 11-0509 LJO
12                          Plaintiff,
                                                            ORDER ON DEFENDANT’S 28 U.S.C. § 2255
13                                                          MOTION TO VACATE, SET ASIDE OR
            vs.                                             CORRECT SENTENCE (Doc.442)
14
     PHAT SAM,
15
                            Defendant.
16                                               /
17                                            INTRODUCTION
18          Defendant Phat Sam (“Mr. Sam”) is a federal prisoner and proceeds pro se to vacate, set aside
19   or correct his sentence pursuant to 28 U.S.C. § 2255 (“section 2255"). Having considered Mr. Sam’s
20   section 2255 motion on the record, this Court DENIES the motion.
21                                             BACKGROUND
22                                       Charges And Plea Agreement
23          A September 14, 2006 indictment charged Mr. Sam with three counts: (1) conspiracy to
24   manufacture and distribute marijuana, in violation of 21 U.S.C. §§846 and 841(a)(1), (2) Possession of
25   marijuana with the Intent to Distribute, in violation of 21 U.S.C. §841, and (3) possession of a firearm
26   in furtherance of drug trafficking crimes, in violation of 18 U.S.C. §924(c)(1)(A)(I).
27          Mr. Sam entered into a January 8, 2010 Fed. R. Crim. P. 11(e)(1)(B) Memorandum of Plea
28   Agreement (“plea agreement”) by which Mr. Sam voluntarily agreed to plead guilty to Count III of the

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 1   indictment, possession of a firearm in furtherance of drug trafficking crimes, in violation of 18 U.S.C.
 2   §924(c)(1)(A)(I). The plea agreement provided Mr. Sam’s knowing and voluntary waiver of his
 3   constitutional and statutory rights to appeal his plea and conviction.           Mr. Sam agreed that
 4   “[a]cknowledging this, the defendant knowingly waives the right to appeal his conviction or any
 5   sentence (or the manner in which that sentence was determined) . . . on the grounds set forth in Title 18
 6   United States Code, section 2742, or on any ground whatever, in exchange for the concessions made by
 7   the United states in this plea agreement.” (Doc. 402, Plea Agreement p.3.) In addition, Mr. Sam agreed
 8   to waive “his right to challenge his conviction, sentence or the manner in which it was determined in any
 9   post-conviction attack, including, but not limited to a motion brought under Title 28, United States
10   Code, Sections 2241 or 2255.” Id.
11          Mr. Sam acknowledged that he understood that “the court is under no obligation to accept any
12   recommendation made by the government and the Court may in its discretion impose any sentence it
13   deems appropriate up to and including the statutory maximum” and that “the Court must consult the
14   Federal Sentencing Guidelines” and that “the Court, after consultation and consideration of the
15   Sentencing Guidelines, must impose a sentence that is reasonable in light of the factors set forth in 18
16   U.S.C. §3553(a). The plea agreement addressed the potential sentence Mr. Sam faced, stating the
17   following:
18          (a) Imprisonment.
19                  Mandatory minimum: five years
20                  Maximum: five years
21   Thus, the plea agreement informed Mr. Sam that the mandatory sentence was five years.
22                                    Acceptance of the Plea Agreement
23          On January 8, 2010, the Court questioned Mr. Sam about whether he understood the terms of the
24   plea agreement and whether he accepted those terms voluntarily. Mr. Sam acknowledged that he had
25   gone through the plea agreement with counsel and that he did not have any questions about the
26   agreement. Regarding the potential sentence imposed, the following exchange occurred:
27          THE COURT:              Do you understand as far as sentencing is concerned, that there is
                                    a mandatory minimum of five years. The minimum and the
28                                  maximum are the same?

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 1          [Asst US Attorney]: Correct. It is a five year mandatory sentence.
 2          THE COURT:              Ok. Do you understand that the minimum and the maximum
                                    sentence is five years and the maximum possible fine is $250,000
 3                                  or both fine and imprisonment.
 4          THE INTERPRETER: Excuse me, your Honor. Would you please repeat the fine again.
 5          THE COURT:              Yes. $250,000
 6          THE DEFENDANT: Okay.
 7   Regarding the right to appeal, the following exchange took place:
 8          THE COURT:              And do you understand that you are waiving your right to appeal?
 9          THE DEFENDANT: Yes.
10          THE COURT:              Do you have any questions about this plea agreement?
11          THE DEFENDANT: No.
12   After reviewing Mr. Sam’s rights to proceed to trial, the Court accepted Mr. Sam’s guilty plea as a
13   knowing and voluntary waiver of rights and a knowing and voluntary entry of a guilty plea.
14                                                 Sentencing
15          The Court conducted a May 13, 2010 sentencing hearing. Mr. Sam was present and was
16   represented by counsel. Consistent with the plea agreement, this Court sentenced Mr. Sam to the
17   statutory minimum of a term of 60 months (5 years) imprisonment and 36 months of supervised release
18   upon release from imprisonment. After Mr. Sam was sentenced, and consistent with the plea agreement,
19   the Government moved to dismiss Counts I and II of the Indictment. After the time to appeal had
20   expired, Mr. Sam filed a direct appeal of his conviction and sentence with the Ninth Circuit Court of
21   Appeals, on November 24, 2010. (Doc. 432.) On February 7, 2011, the Ninth Circuit dismissed the
22   appeal as untimely. (Doc. 438.)
23                                            Section 2255 Motion
24          On March 25, 2011, Mr. Sam filed his section 2255 motion. Mr. Sam claims that his plea was
25   not intelligent or voluntary because, at the time he entered his guilty plea, he told his attorney that he
26   wanted to appeal and instructed his attorney to file an appeal. The attorney did not file an appeal. Mr.
27   Sam argues that he did not validly waive his right to appeal the sentence and conviction. He also argues
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 1   that the Court did not explain the sentence it imposed and did not explain the reason for rejecting his
 2   arguments.1
 3                                                         DISCUSSION
 4            This Court finds independent bases for dismissal of Mr. Sam’s section 2255 motion, as discussed
 5   more fully below. First, Mr. Sam’s plea was voluntary and intelligent. Second, Mr. Sam waived his
 6   right to attack collaterally his sentence with a section 2255 motion. Third, Mr. Sam cannot show
 7   ineffective assistance of counsel. For each of these reasons, “it plainly appears from the face of the
 8   motion...that the movant is not entitled to relief.” U.S. v. Matthews, 833 F.2d 161, 164 (9th Cir. 1987).
 9   Accordingly, this Court “must dismiss” Mr. Sam’s section 2255 motion. Id. (emphasis in original).
10                                               Voluntary and Intelligent Plea
11            “It is well settled that a voluntary and intelligent plea of guilty made by an accused person, who
12   has been advised by competent counsel, may not be collaterally attacked.” Mabry v. Johnson, 467 U.S.
13   504, 508-09 (1984). To determine voluntariness, the Court examines the totality of the circumstances.
14   Iaea v. Sunn, 800 F.2d 861, 866 (9th Cir. 1986). A plea is voluntary if it “represents a voluntary and
15   intelligent choice among alternative courses of action open to the defendant.” North Carolina v. Alford,
16   400 U.S. 25, 31 (1970). “[A] plea of guilty entered by one fully aware of the direct consequences...must
17   stand unless induced by threats (or promises to discontinue improper harassment), misrepresentation
18   (including unfulfilled or unfulfillable promises), or perhaps by promises that are by their nature improper
19   as having no proper relationship to the prosecutor’s business (e.g. bribes).” Brady v. United States, 397
20   U.S. 742, 755 (1970). In sum, “a guilty plea is void if it was ‘induced by promises or threats which
21   deprive it of the character of a voluntary act.” Sanchez v. United States, 50 F.3d 1448, 1454 (9th Cir.
22   1995) (quoting Machibroda v. United States, 368 U.S. 487, 493 (1962)).
23            Here, Mr. Sam acknowledged that he was fully aware of the direct consequence of his plea, in
24   both written and oral form. In the written plea agreement, Mr. Sam acknowledged and agreed that the
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26            1
                In his motion, Mr. Sam argues that the “district court failed to give reasons for rejecting the argument, and did not
     explain why it chose the 108-month middle-range sentence it imposed.” (Doc. 442, Petition p.9.) However, in this case,
27   petitioner was sentenced not to 108-months, but to 60 months. The 60 month sentence was both the maximum possible
     sentence and the minimum possible sentence. (See doc. 402, Plea Agreement p. 8.) The sentence was stated both in the
28   agreement and on the record at the change of plea.

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 1   statutory minimum term of imprisonment was 5 years and that the statutory maximum was also 5 years.
 2   At the time of the oral plea, Mr. Sam stated under oath that he was entering into the plea of guilty
 3   voluntarily, that he was satisfied with his attorney’s representation, and that no one had forced him or
 4   threatened him to plead guilty. He stated that he understood that the minimum sentence for his offense
 5   was 5 years imprisonment and that sentencing was at the discretion of the Court. He understood that
 6   he was waiving his right to appeal. Thus, under Brady, Mr. Sam’s plea must stand, as his plea was
 7   voluntary and intelligent.
 8                                                   Waiver
 9          Mr. Sam’s waiver to attack collaterally his sentence with a section 2255 motion precludes Mr.
10   Sam’s claims, if any, related to his sentence. A plea agreement is a contract and subject to contract law
11   standards. United States v. Escamilla, 975 F.2d 568, 571 (9th Cir. 1992); United States v. Read, 778
12   F.2d 1437, 1441 (9th Cir. 1985). A defendant may waive the right to bring a section 2255 motion.
13   United States v. Abarca, 985 F.2d 1012, 1013 (9th Cir.), cert. denied, 508 U.S. 979 (1993). “[A]
14   prisoner may not collaterally attack a judgment if the prisoner waived the right to do so.” United States
15   v. Racich, 35 F.Supp.2d 1206, 1210 (S.D. Cal. 1999). A plea agreement does not waive the right to
16   bring a section 2255 motion unless it does so expressly. United States v. Pruitt, 32 F.3d 431, 433 (9th
17   Cir. 1994). The right to bring a collateral attack under section 2255 is statutory, and a “knowing and
18   voluntary waiver of a statutory right is enforceable.” Abarca, 985 F.2d at 1014.
19          Mr. Sam’s waiver of his appeal and collateral attack rights, as part of Mr. Sam’s knowing and
20   voluntary plea agreement, is valid. When reviewing his plea in open court, Mr. Sam affirmed his desire
21   to be bound by the terms of the plea agreement. Because Mr. Sam waived his right to attack collaterally
22   his sentence in a section 2255 motion, Mr. Sam is precluded from raising such issues in this section 2255
23   motion which do not relate to the performance of his attorney or voluntariness of waiver. See Abarca,
24   985 F.2d at 1013.
25                                     Ineffective Assistance Of Counsel
26          Mr. Sam argues that he had ineffective assistance of counsel because he told his attorney that he
27   wanted to appeal, yet counsel did not file an appeal. He argues that this was ineffective assistance of
28   counsel because he “invalidly waived his right to appeal the sentence and conviction.” (Doc. 442

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 1   Petition p. 5-6.)
 2           A defendant may not be able to “waive a claim of ineffective assistance of counsel based on
 3   counsel’s erroneously unprofessional inducement of the defendant to plead guilty or accept a particular
 4   plea bargain.” United States v. Pruitt, 32 F.3d 431, 433 (9th Cir. 1994). As such, this Court scrutinizes
 5   defendant’s ineffective assistance of counsel claim.
 6           When considering an ineffective assistance of counsel claim, a court must consider two factors.
 7   Lockhart v. Fretwell, 506 U.S. 364, 369, 113 S.Ct. 838, 842 (1983); Strickland v. Washington, 466 U.S.
 8   668, 687, 104 S.Ct. 2052, 2064 (1984); Lowry v. Lewis, 21 F.3d 344, 346 (9th Cir. 1994), cert. denied,
 9   513 U.S. 1001, 115 S.Ct. 513 (1995). The first factor is whether the counsel’s performance fell below
10   an objective standard of reasonableness considering all of the circumstances. Strickland, 466 U.S. at
11   687-688, 104 S.Ct. at 2064; Bloom v. Calderon, 132 F.3d 1267, 1270 (9th Cir. 1997), cert. denied, 494
12   U.S. 1039, 118 S.Ct. 1856 (1998). A defendant must demonstrate that counsel’s performance was
13   deficient and that counsel made errors so serious as not to function as “counsel” guaranteed by the Sixth
14   Amendment. Strickland, 466 U.S. at 687, 104 S.Ct. At 2064.
15           The second factor for court consideration is whether the petitioner has affirmatively proven
16   prejudice. Strickland, 466 U.S. at 693, 104 S.Ct. at 2067; Bloom, 132 F.3d at 1271. Prejudice occurs
17   when “there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the
18   proceeding would have been different.” Strickland, 466 U.S. at 694, 104 S.Ct. at 2066. A reasonable
19   probability is “a probability sufficient to undermine the confidence in the outcome.” Strickland, 466
20   U.S. at 694, 104 S.Ct. at 2066.
21           A defendant is limited to attacking the voluntary and intelligent nature of the plea itself. United
22   States v. Floyd, 108 F.3d 202, 204 (9th Cir.1997) (quoting Tollett, 411 U.S. at 267, 93 S.Ct. 1602).“[I]n
23   order to satisfy the ‘prejudice’ requirement, the defendant must show that there is a reasonable
24   probability that, but for counsel's errors, he would not have pleaded guilty and would have insisted on
25   going to trial.” Hill v. Lockhart, 474 U.S. at 59, 106 S.Ct. 366. When a defendant enters a guilty plea
26   on the advice of counsel, the voluntariness of the plea depends on whether a counsel's advice was
27   deficient. Hill v. Lockhart, 474 U.S. 52, 56, 106 S.Ct. 366, 88 L.Ed.2d 203 (1985).
28           Defendant’s ineffective assistance of counsel claim does not attack the voluntary or intelligent

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 1   nature of his plea. Defendant does not claim that the counsel’s advice was inadequate in any way with
 2   respect to the plea he entered; his complaint is only that he wanted to appeal.
 3          Indeed, at the change of plea, the knowing voluntary waiver was explored extensively. During
 4   the change of plea at sentencing hearing, the Court reviewed the terms of the plea agreement with
 5   defendant. The Court inquired whether defendant had read and understood the plea agreement, whether
 6   he had discussed it with counsel, and whether his signature appeared on the plea agreement. To each
 7   question, defendant responded “yes.” The Court advised defendants of the rights he would lose by
 8   entering a plea of guilty and the maximum penalty provided by law for the offense. The Court also
 9   inquired whether defendant had signed the plea agreement voluntarily. Defendant responded “yes.” The
10   Court also inquired about waiving appeal rights to which defendant responded “yes.” Further, defendant
11   received substantial benefits from the plea agreement. Two counts were dismissed, each of which
12   carried a 10 year mandatory term. (See Doc. 31-4 True Bill.) Indeed, in defendant’s knowing and
13   voluntary waiver as part of his written plea and at the acceptance of oral plea, defendant acknowledged
14   his guilt of the crime charged. He acknowledged the factual bases for the indictment and admitted the
15   charge. Accordingly, Mr. Sam was not deprived of effective assistance of counsel.
16                                        Certificate Of Appealability
17          28 U.S.C. § 2253(c)(1) precludes an appeal from a final order in section 2255 proceedings unless
18   a circuit justice or judge issues a certificate of appealability (“COA”). A COA may issue “only if the
19   applicant has made a substantial showing of the denial of a constitutional right.” 28 U.S.C. §2253(c)(2);
20   see Williams v. Calderon, 83 F. 3d 281, 286 (9th Cir. 1996). A COA issues when defendant
21   demonstrates the questions raised are “debatable among jurists of reason; that a court could resolve the
22   issues [in a different manner]; or that the questions are adequate to deserve encouragement to proceed
23   further.” Barefoot v. Estelle, 463 U.S. 880, 893, n. 4 (1983). In the absence of a COA, no appeal in a
24   section 2255 proceeding may be heard. 28 U.S.C. § 2253(c).
25          This Court has reviewed the record of this case and finds no jurist of reason could debate the
26   correctness to deny defendant collateral relief. See Clark v. Lewis, 1 F. 3d 814, 819 (9th Cir. 1993). On
27   the merits of this case, reasonable jurists would not debate the constitutionality of Mr. Sam’s conviction.
28   Accordingly, a certificate of appealability is improper.

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 1                                     CONCLUSION AND ORDER
 2            For the reasons discussed above, this Court DENIES Mr. Sams’ section 2255 relief and a
 3   certificate of appealability. The clerk is directed to close Case No. CV F 11-0509.
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 5   IT IS SO ORDERED.
 6   Dated:      April 1, 2011                       /s/ Lawrence J. O'Neill
     b9ed48                                      UNITED STATES DISTRICT JUDGE
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